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 9
                          UNITED STATES DISTRICT COURT
10
                        NORTHERN DISTRICT OF CALIFORNIA
11
                              SAN FRANCISCO DIVISION
12
     LAWRENCE OLIN, HAROLD NYANJOM, Case No. 3:18-cv-01881-RS (TSH)
13   SHERON SMITH-JACKSON, JANICE
     VEGA-LATKER, MARC BOEHM, and
14   RAVEN WINHAM, individually and on        ORDER GRANTING PRELIMINARY
     behalf of all others similarly situated, APPROVAL OF CLASS SETTLEMENT
15                                            AGREEMENT
                                  Plaintiffs,
16
           v.
17
     FACEBOOK, INC.,
18
                           Defendant.
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      ORDER GRANTING                                        Case No. 3:18-cv-01881-RS
     PRELIMINARY APPROVAL OF
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 1
             Before the Court is the Motion for Preliminary Approval of Class Settlement
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 3
     Jackson, Janice Vega-Latker, Marc Boehm, and
 4
     Defendant Facebook, Inc., now known as Meta Plat
 5
     entered into a Class Settlement Agreement, dated
 6
     Having thoroughly reviewed the Settlement Agreement and exhibits thereto, the Motion, and
 7
     the papers and arguments in connection therewith, and good cause appearing, the Court hereby
 8
     ORDERS as follows:
 9
             1.     Capitalized terms not otherwise defined herein have the meanings set forth in
10
     the Settlement Agreement.
11
             2.     This Court has subject matter jurisdiction over this matter pursuant to 28 U.S.C.
12
     § 1332(d), and has personal jurisdiction over the Parties and the Settlement Class Members.
13
     Venue is proper in this District.
14
             3.     The Motion is GRANTED.
15
             4.     The Court hereby preliminarily approves the Settlement Agreement and the
16
     terms embodied therein pursuant to Fed. R. Civ. P. 23(e)(1). The Court finds that it will likely
17
     be able to approve the Settlement Agreement under Fed. R. Civ. P. 23(e)(2) and to certify the
18
     Settlement Class for purposes of judgment on the proposed Settlement. The Court
19
     preliminarily finds that the Settlement Agreement is fair, reasonable, and adequate as to the
20
     Settlement Class Members under the relevant considerations. The Court finds that the
21
     Settlement Class Representatives and Interim Class Counsel have adequately represented, and
22
     will continue to adequately represent, the Settlement Class. The Court further finds that the
23
     Settlement Agreement is the produc                                    by the Parties through the use
24
     of an experienced mediator, Judge Wayne R. Andersen (Ret.) of JAMS Chicago, and an
25
     additional eight months of extensive settlement discussions. The Court preliminarily finds that
26
     the relief provided is adequate taking into account, inter alia, the costs, risks, and delay of trial
27
     and appeal, and the alleged harm to Settlement Class Members. The Court preliminarily finds
28

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     that the Settlement Agreement treats the Settlement Class Members equitably relative to

     each other.

 1                 5.      The Court hereby provisionally certifies, for settlement purposes only, a

 2                                                            v. P. 23(a) and 23(b)(2), consisting of:

 3                   All persons in the United States who installed the Facebook
                     Messenger and Facebook Lite apps for Android, and granted Meta
 4                   permission to access their contacts.
 5

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 7
            6.      The Court finds that for settlement purposes only, the Settlement Class, as
 8
     defined above, meets the requirements for class certification under Fed. R. Civ. P. 23(a) and
 9
                                                       Members are sufficiently numerous such that
10
     joinder is impracticable; (2) there are common questions of law and fact; (3) the Settlement
11
                                                    hose of the Settlement Class Members; (4) the
12
     Settlement Class Representatives and Interim Class Counsel have adequately represented, and
13
     will continue to adequately represent, the interests of the Settlement Class Members; and (5)
14
     for purposes of settlement, the Settlement Class meets the predominance and superiority
15
     requirements of Fed. R. Civ. P. 23(b).
16
            7.      Certification of the Settlement Class shall be solely for settlement purposes,
17
     without prejudice to the Parties, and with no other effect upon the Action. In the event the
18
     Settlement Agreement is not finally approved by this Court or otherwise does not take effect,
19
     the Parties preserve all rights and defenses regarding class certification.
20
            8.      The Court hereby appoints Plaintiffs Lawrence Olin, Harold Nyanjom, Sheron
21
     Smith-Jackson, Janice Vega-Latker, Marc Boehm, and Raven Winham as Class
22
     Representatives to represent the Settlement Class.
23
            9.      The Court hereby appoints the law firm of Bursor & Fisher, P.A. as Class
24
     Counsel for the Settlement Class.
25
            10.     Notice of the settlement is not required here. See Fed. R. Civ. P. 23(c)(2)(A)
26
     (stating that under Rule                     may direct appropriate
27
     (emphasis added). The Court finds that notice also is not required because the Settlement
28

      ORDER GRANTING                                                          Case No. 3:18-cv-01881-RS
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     Agreement only releases claims for injunctive and/or declaratory relief and does not release the

     monetary or damages claims of the Class, and thus the settlement expressly preserves the

 1   individual rights of class members to pursue monetary claims against the Defendant. See, e.g.,

 2   Stathakos v. Columbia Sportswear Co., et al., 2018 WL 582564, at *3-4 (N.D. Cal. Jan. 25,

 3   2018); Lilly v. Jamba Juice Co.                                                              Kim v.

 4   Space Pencil, Inc., 2012 WL 5948951, at *4, 17 (N.D. Cal. Nov. 28, 2012). Nonetheless,

 5   pursuant to the Settlement Agreement, all documents pertaining to the Settlement, preliminary

 6   approval, and final approval (including Plaintif

 7   awards and any opposition or reply papers thereto), shall be po

 8   website (http://www.https://www.bursor.com/).

 9          11.     The Court finds that the CAFA Notice sent by Meta complied with 28 U.S.C. §

10   1715 and all other provisions of the Class Action Fairness Act of 2005.

11          12.     Each Settlement Class Member shall be given a full opportunity to comment on

12   or object to the Settlement Agreement, and to participate at a Final Approval Hearing.

13   Comments or objections must be in writing, and must include (1) the name and case number of

14   the Action (Olin et al. v. Facebook, Inc., Case No. 18-cv-01881-RS); (2) the Settlement Class

15                                                      (3) the personal signature of the Settlement

16   Class member; (4) the grounds for any objection; (5) the name and contact information of any

17   and all attorneys representing, advising, or assisting with the comment or objection, or who

18   may profit from pursuing any objection; and (6) a statement indicating whether the Settlement

19   Class Member intends to appear at the Final Approval Hearing, either personally or through

20   counsel.

21          13.     To be considered, written comments or objections must be submitted to the

22   Court either by mailing them to Class Action Clerk, United States District Court for the

23   Northern District of California, 450 Golden Gate Avenue, San Francisco, CA 94102, or by

24   filing them in person at any location of the United States District Court for the Northern

25   District of California, within 60 days after the entry of this Order. No Class Member shall be

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      ORDER GRANTING                                                          Case No. 3:18-cv-01881-RS
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 1
     entitled to be heard at the Final Approval Hearing, whether individually or through counsel,
 2
     unless written notice of                          ntion to appear at the Final Approval Hearing
 3
     is timely filed, or postmarked for mail to the Court within 60 days after date of entry of this
 4
     Order.
 5
              14.   The date of the postmark on the envelope containing the written objection shall
 6
     be the exclusive means used to determine whether an objection has been timely submitted.
 7
     Class Members who fail to mail timely written objections in the manner specified above shall
 8
     be deemed to have waived any objections and shall be forever barred from objecting to the
 9
     Settlement Agreement and the proposed settlement by appearing at the Final Approval Hearing,
10
     appeal, collateral attack, or otherwise.
11
              15.    The Court will hold a final approval hearing on              , 2022 at
12
     p.m. The purposes of the final approval hearing will be to: (i) determine whether the proposed
13
     Settlement Agreement should be finally approved by the Court as fair, reasonable, adequate,
14
     and in the best interests of the Settlement Class; (ii) determine whether judgment should be
15
     entered pursuant to the Settlement Agreement, dismissing the Action with prejudice and
16
     releasing the Released Persons of all claims stated in Section 6.1 of the Settlement Agreement;
17
     (iii) determine whether the Settlement Class should be finally certified; (iv) rule on Class
18
                                                   nd service awards; (v) consider any properly filed
19
     objections; and (vi) consider any other matters necessary in connection with the final approval
20
     of the Settlement Agreement.
21
                    C                                           fees, costs and expenses shall be filed
22

23   and served no later than thirty (30) days afte              order of preliminary approval. Any

24   opposition, comment, or objection shall be filed no later than       ( ) days after

25   order of preliminary approval. Any reply shall be filed no later than        (   ) days after the

26   Cour       der of preliminary approval.

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 1
            17.     The motion in support of final approval of the settlement shall be filed and
 2
     served no later than thirty (30) days after th                       iminary approval. Any
 3
     opposition or objection shall be filed no later than      ( 0) days af
 4
     preliminary approval. Any reply shall be filed no later than         ( ) days after the
 5
     order of preliminary approval.
 6
            18.     The Court may, in its discretion, modify the date and/or time of the final
 7
     approval hearing. In the event the Court changes the date, time, and/or the format of the final
 8
     approval hearing, the Parties shall ensure that the updated information is posted on the Class
 9
                       website.
10
            19.     If the Settlement Agreement, including any amendment made in accordance
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     therewith, is not approved by the Court or shall not become effective for any reason
12
     whatsoever, the Settlement Agreement and any actions taken or to be taken in connection
13
     therewith (including this Preliminary Approval Order and any judgment entered herein), shall
14
     be terminated and shall become null and void and of no further force and effect except for
15
        any obligations to pay for any expense incurred in connection with Notice and Other
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     Administration Costs as set forth in the Settlement Agreement, and (ii) any other obligations or
17
     provisions that are expressly designated in the Settlement Agreement to survive the termination
18
     of the Settlement Agreement.
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20
                    Other than such proceedings as may be necessary to carry out the terms and
21
     conditions of the Settlement Agreement, all proceedings in the Action are hereby stayed and
22
     suspended until further order of this Court.
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            21.     Pending final determination of whether the Settlement Agreement should be
24
     finally approved, Plaintiffs and all Settlement Class Members are barred and enjoined from
25
     filing, commencing, prosecuting, or enforcing any action against the Released Parties insofar as
26
     such action asserts claims stated in Section VI of the Settlement Agreement, directly or
27
     indirectly, in any judicial, administrative, arbitral, or other forum. This bar and injunction is
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 1
     necessary to protect and effectuate the Settlement Agreement and this Preliminary Approval
 2
                                                     the Settlement, and is ordered in aid of this
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 4
               22.   This Preliminary Approval Order, the Settlement Agreement, the fact that a
 5
     settlement was reached and filed, and all negotiations, statements, agreements, and proceedings
 6
     relating to the Settlement, and any matters arising in connection with settlement negotiations,
 7
     proceedings, or agreements shall not constitute, be described as, construed as, used as, offered
 8
     or received against Meta as evidence or an admission or concession of: (a) the truth of any fact
 9
     alleged by Plaintiffs in the Action; (b) any liability, negligence, fault, or wrongdoing of Meta or
10
     breach of any duty on the part of Meta; or (c) that this Action or any other action may be
11
     properly certified as a class action for litigation, non-settlement purposes. This order is not a
12
     finding of the validity or invalidity of any of the claims asserted or defenses raised in the
13
     Action.
14
               23.   The Court retains jurisdiction over this Action to consider all further matters
15
     arising out of or connected with the Settlement, including enforcement of the Release provided
16
     for in the Settlement Agreement.
17
               24.   The Parties are directed to take all necessary and appropriate steps to establish
18
     the means necessary to implement the Settlement Agreement according to its terms should it be
19
     finally approved.
20
               25.   The Court may, for good cause, extend any of the deadlines set forth in this
21
     Preliminary Approval Order without further notice to Settlement Class Members. Without
22
     further order of the Court, the Parties may agree to make non-material modifications in
23
     implementing the Settlement that are not inconsistent with this Preliminary Approval Order.
24

25   IT IS SO ORDERED.
26   Date: _                 ______________
                                                    _______________________________
27                                                  Hon. Richard Seeborg
28                                                  Chief United States District Judge

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